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UNITED STATES DISTRICT COURT
for the
Eastern District of Louisiana

HIRAN RODRIGUEZ

) CIVIL ACTION NO. 25-197
Plaintiff(s) DIVISION: A(2)
JUDGE JAY C. ZAINEY
v, ) | MAG. JUDGE DONNA PHILLIPS CURRAULT

)
)

META PLATFORMS, INC., ET AL,
)

Defendant(s)

)

SUPPLEMENTAL AFFIDAVIT OF SERVICE FOR JEFFERSON PARISH

SHERIFF'S OFFICE AND SHERIFF JOSEPH P. LOPINTO III
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I, Hiran Rodriguez, Pro Se Plaintiff in the above-captioned matter, hereby declare under penalty

of perjury the following:
1. On February 25, 2025, I personally visited the Jefferson Parish Sheriff's Office at 1233
Westbank Expressway, Harvey, LA, 70058, United States to effect service of process for the

Summons and Complaint in this action.

2. I spoke directly with Michelle Lennie who identified herself as a supervisor authorized to

accept service on behalf of the Jefferson Parish Sheriff's Office and Sheriff Joseph P. Lopinto III.

3. The supervisor explicitly stated that she was authorized to accept service for both the Sheriff's

Office as an entity and for Sheriff Joseph P. Lopinto III in his individual capacity.

4. The supervisor accepted the service documents without objection or reservation on behalf of

the Sheriff's Office and Sheriff Joseph P. Lopinto III.

5. The supervisor also stated that she was not authorized to accept service on behalf of individual

deputies and indicated that separate service would be required for them.

6. I left a complete set of the Summons and Complaint with the supervisor, who confirmed

acceptance.

7. This affidavit is submitted to clarify and confirm that service was made in good faith upon the
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Jefferson Parish Sheriff's Office and Sheriff Joseph P. Lopinto III in his individual capacity as

authorized by the supervisor.
I declare under penalty of perjury that the foregoing is true and correct.
Dated: 03/07/2025

Respectfully submitted,

Sbran Rodriguez

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